Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 1 of 26




                     EXHIBIT 2
     DPW NYSDHR Answer & Position Statement (December 5, 2017)
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 2 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 3 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 4 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 5 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 6 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 7 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 8 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 9 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 10 of 26
 Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 11 of 26




Unfortunately, the performance issues that had been apparent throughout Cardwell's
tenure at the Firm became increasingly problematic as he became more senior, as
evidenced by his work on several matters in mid-2016.

               In August and September, for example, Cardwell was staffed on a private
equity deal with a senior partner in M&A, Leonard Kreynin. Kreynin, like Hudson
before him, worked directly with Cardwell and found his performance seriously deficient.
Among other issues, Cardwell made major mistakes in revising an important document.

                Markups require junior associates to understand the reason for the
proposed changes, and to implement those changes thoughtfully, carefully and
consistently. But Cardwell failed to do so. Instead, as Kreynin noted both during their
work together and in his subsequent review, Cardwell made changes in a way that
expanded the scope of an agreement in a manner adverse to the client's interests, rather
than narrowing it. In addition, when asked to change the name ofthe party that would
execute a document, Cardwell made the change to the header of the document, but not to
the signature block. While this may appear relatively unimportant, it was in fact a
fundamental error in the context of the deal; mistakes in signature blocks can render
entire agreements invalid. And mistakes of this nature undermine clients' trust and
confidence that their counsel are completing their assignments with the care, attention to
detail, and exacting precision that clients are entitled to demand when engaging-and
compensating-counsel of Davis Polk's stature. Kreynin, after working closely with
Cardwell, felt he could not entrust Cardwell with even the simplest tasks.

                Another M&A partner, John Butler, worked with Cardwell on a diligence
assignment and found that Cardwell appeared not to "fully underst[and] what he was
talking about." Butler gave Cardwell instructions on what he "wanted [Cardwell] to
focus on," including a specific question about the mechanics of a security important to
the transaction. Cardwell wrote a report stating that the security worked in a particular
manner, but when Butler asked Cardwell to explain the basis for his belief, Cardwell was
unable to explain it and "said he would have to follow up on that." This did "not inspire
confidence." Ex. I 6.

                By the fall of 2016, reviews ofCardwell's performance reflected an
increasing concern that his work was not at the level expected of a Firm associate, much
less an associate making the transition, as Cardwell was that fall, from the junior to the
midlevel role. Indeed, by the fall, senior attorneys from M&A noted that Cardwell's
performance was so deficient that it was translating into difficulties staffing him. This
fact was reflected in Cardwell' s hours, which were uneven over the course of 2016-
relatively low in the early months of the year, during Cardwell's Capital Markets
rotation, higher in the summer, and relatively low again later in the fall and for the
remainder of the year, in M&A.

               By this point, and consistent with Davis Polk's practices, Cardwell's poor
performance over three rotations and at the beginning of his post-rotation assignment to
the M&A group was such that it would have warranted giving Cardwell a message that it
was time for him to look for another job. Nevertheless, when the partners met to decide

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FOIA/FOIL Confidential Treatment Requested by Davis Polk
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 12 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 13 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 14 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 15 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 16 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 17 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 18 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 19 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 20 of 26
            Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 21 of 26
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       Cardwell raised and these events other than that they followed each other in time. This is
       not enough to allege discrimination.

                       Finally, Cardwell alleges that Rocio Clausen, one of his prior assigning
       administrators, did not "arrange or coordinate new assignments" for him after September
       2016. Comp!. 116. This was entirely standard. By the fall of 2016, Cardwell had
       assigned to M&A, and his staffing was coordinated by M&A. Clausen was no longer the
       administrator responsible for assi gning matters to Cardwell. To be sure, Clausen did
       reach out to Cardwell in September seeking his help on a Credit group matter. (As is
       explained in orientation, associates are expected to be available for cross-departmental
       assignments when the need arises, and when Credit is in need of help, it routinely reaches
       out to associates in other groups who, like Cardwell, had rotated through Credit. 17) Once
       Cardwell signaled his refusal to accept a cross-departmental assignment, there was no
       further reason for Clausen to coordinate his assignments. 18

                          None of these events was either discriminatory or retaliatory.
                                            *                 *         *        *
                      In short, the record establishes beyond any question that Cardwell's
       experience at the Firm, in both hours and assignments, was solely a function of consistent
       and documented performance problems, not of any unlawful act by the Firm.


       IV.       POSITION STATEMENT OF THE FIRM

                       Cardwell asserts claims for race discrimination and retaliation under Title
       VII of the Civil Rights Act of 1964 ("Title VII"), the New York State Human Rights Law
       ("NYSHRL"), and the New York City Hmnan Rights Law ("NYCHRL"), based
       principally on the allegation that he experienced a decrease in billable work as a result of
       his race.

                       Cardwell's claims have no support in fact or in law. Cardwell has not
       alleged, as he must to prevail on a claim of discrimination, any facts establishing that
       ru1yone at the Firm acted with an intent to discriminate against him. The record
       17
             Cardwel!'s tenure at the Finn began with a comprehensive training program that emphasized, among
             other issues, the Firm's expectations for junior associates, skills development, and the Finn's
             commitment to diversity and inclusion. As relevant here, associates were told to arrive to work on
             time, to be available for cross-departmental assignments when the need arose. to pay careful attention
             to the changes senior lawyers made to their work and to other analogous forms of feedback. and to
             introduce themselves to other attorneys. See, e.g., Exs. 20-22.
       "     Remarkably, the Complaint also suggests that, as part of a "pattern" of being underutilized that
             Cardwell allegedly began to notice during the summer of 20 l 6, Cardwell "was removed from another
             M&A deal" on September 29, 2016. Comp I. 1 15. In fact, it was the demands of another M&A deal
             on which Cardwell was simultaneously working (which contributed to his relatively high September
             2016 billables) that prompted a more senior associate to find another associate to "fill in" for Cardwell
             through signing of the deal. Far from being ·'removed" from the deal, Cardwell was asked to let the
             team know ·"when [he] free[s] up," to which he responded, "Understand completely. I'll be sure to let
             you know." Ex. 26.

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       FOIA/FOIL Confidential Treatment Requested by Davis Polk
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 22 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 23 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 24 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 25 of 26
Case 1:19-cv-10256-GHW Document 99-2 Filed 11/18/20 Page 26 of 26
